 1   HOWE LAW FIRM
     Thomas Howe, OSB 822847
 2   519 SW Park Avenue, Suite 418
     Portland, OR 97205
 3   www.HoweLawFirm.com
     Howe@HoweLawFirm.com
 4   Tel: (503) 227-6660
     Fax: (844) 332-3912
 5
     Special Discovery Master
 6

 7

 8

 9
10

11                              UNITED STATES DISTRICT COURT
12                        NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN JOSE DIVISION
14   FACEBOOK, INC., et al.,                   Case No.: 5:19-cv-07071-SVK

15          Plaintiffs,
16
            v.                                    SPECIAL DISCOVERY MASTER’S
17                                                DATA DESTROYED OR WITHHELD
     ONLINENIC INC, et al.,                       REPORT
18
            Defendants.
19

20

21                                                Hon. Susan van Keulen

22

23

24

25

26

27

28

                                   -1-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1                                      EXECUTIVE SUMMARY

 2            For this Data Destroyed or Withheld Report (hereinafter “Report”), the Special

 3   Discovery Master (hereinafter “Special Master”) was charged with determining the adequacy

 4   of Defendants’ past productions to Plaintiffs and whether Defendants destroyed or withheld

 5   data from their Kayako Ticket Database (hereinafter “Ticket Database”).

 6            In reaching the conclusions below, Special Master collected electronically stored

 7   information (hereinafter “ESI”) with a cumulative data size of 184 GB, a total of 545,013

 8   files, and 442,680,623 database records. To forensically analyze this large data set, most

 9   information was separately ingested into a “Consolidated Database,” which is defined below.
10   See Exhibit 1. Of particular importance to the analysis in this Report are Defendants’ support
11   tickets and other ticket-related database tables. This ticket-related data is located in the
12   following six main tables: swtickets, swticketposts, swticketnotes, swattachments,

13   swticketmergelog, and swauditlogs.

14            In this case, there are two discovery protocols between the parties. The parties’ first

15   discovery protocol was limited to the July 1, 2015 – July 15, 2020, date range, and had 47

16   search terms. However, the parties’ new discovery protocol was not similarly limited, and

17   instead covers all dates, and has 194 search terms. This Report covers destroyed and withheld

18   ESI that was responsive to the parties’ expanded new discovery protocol with no date limits

19   but does not take into account the expanded search term list as it was received only one

20   business day before submission to the parties. As much as possible, this Report also details

21   destroyed and withheld ESI that was responsive to the old discovery protocol’s limited date

22   range.

23            As described in detail below, there is ample evidence that Defendants failed to

24   preserve responsive ESI, deleted ESI, and withheld ESI. Sometimes Defendants deleted data

25   using the Kayako SupportSuite Application, and other times, they deleted records directly

26   from the live Ticket Database. Overall, Special Master identified that Defendants deleted over

27   one-half (52.35%) of the ticket-related database records in the entire database (11,059,388

28   records). Of these deleted records, Special Master estimates 30% of those records (based on

                                   -2-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   the percent of responsive records from July 1, 2015 – July 15, 2020), or 3,317,816 records,

 2   were responsive to the agreed past discovery protocol. However, because the new discovery

 3   protocol agreement of the parties includes all dates and more search terms, presumably the

 4   missing responsive tickets and ticket-related records will be higher and cannot be produced to

 5   Plaintiffs.

 6           This Report narrative covers the most relevant examples of record types that

 7   Defendants deleted and withheld. With this Report, the parties received accompanying

 8   exhibits, a supporting database, and analytics spreadsheets. Collectively, these items detail the

 9   analysis Special Master applied to Defendants’ productions and reveal instances of known
10   deleted and withheld data.
11           The most relevant instances of known deleted records involve tickets, ticket posts,
12   ticket notes, and attachment files. This latter group, attachment files, is particularly
13   noteworthy because they frequently contain the most material information in a ticket. In this
14   case, over 432,033 attachment records once existed in the Ticket Database. However,
15   Defendants deleted 331,390 of those attachments (76.7%). Of the 100,643 surviving
16   attachments, Special Master found 23,464 (23.31%) responsive attachment files. Assuming
17   the same responsive rate and applying it to the deleted attachments, Plaintiffs will never
18   receive an estimated 77,247 responsive attachments files. Furthermore, if the search term only
19   appeared in the attachment (and not the database records), then Plaintiffs would have received
20   additional related ticket database records had the attachments not been deleted.
21           In addition to deleting records, Defendants withheld responsive ESI that still resided in

22   the database. For example, Defendants used overly restrictive searches that excluded entire

23   years’ worth of records and excluded entire ticket-related tables. Below is information about

24   tickets, ticket posts, and ticket attachments not provided to Plaintiffs.

25           To compound matters, Defendants produced to Plaintiffs a significant amount of

26   unresponsive data in their productions. In a review of a subset of all produced records, 5,096

27   responsive records were obscured by 27,823,240 non-responsive records.

28

                                   -3-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1          Finally, while some harm to Plaintiffs is mitigated because Special Master recovered a

 2   subset of Defendants’ deleted data, the attachment files and other ticket-related records that

 3   are not recoverable are lost forever to Plaintiffs.

 4   I.     SCOPE OF REPORT

 5          The Order Appointing Special Discovery Master (hereinafter “Order”) appointing

 6   Thomas Howe, on March 3, 2021, contained three primary responsibilities:

 7                  A. Supervise and complete Defendants’ collection, search, and production to

 8                      Plaintiffs’ counsel of the Ticket Database;

 9                  B. Produce a result set of responsive data to the parties in native database
10                      format, based on an agreed new discovery protocol, with all related
11                      database tables (hereinafter “Result Set”); and
12                  C. Determine whether data was destroyed or withheld from Defendants’
13                      Ticket Database, and the adequacy of the productions to Plaintiffs.
14          This Data Destroyed or Withheld Report (hereinafter “Report”) is in response to the
15   third point above – determining the adequacy of Defendants’ past productions to Plaintiffs
16   and whether data from the Ticket Database was destroyed or withheld. The details below
17   discuss Special Master’s collection, analysis, findings, and conclusions.
18   II.    DISCOVERY AGREEMENT BY THE PARTIES
19          The parties had a limited discovery protocol agreement for past productions.
20   Typically, a discovery protocol delineates the parameters of the search for responsive items
21   by defining such terms as date filters; data types; and the method of production. Although
22   there was no formal written discovery protocol or discovery agreement for the past
23   productions, in this case, the parties did discuss the discovery they needed and exchanged
24   emails with lists of search terms. Special Master worked with each parties’ counsel to recreate
25   their discovery protocol, based on their understanding at the time. This understanding is
26   captured in the “Discovery Protocol for Past Productions.” See Exhibit 2. That discovery
27   agreement provides a benchmark against which to measure the adequacy of Defendants’ past
28

                                   -4-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   productions. However, it is important to note that several important specifics about the

 2   parties’ past discovery protocol remained unidentified. For example:

 3                  A. Should the search terms be applied to the entire database, or only to certain

 4                      tables and table columns?

 5                  B. Should the search terms be applied to the attachment files or just the

 6                      database records?

 7                  C. What was the method of production for legal review? After Defendants’

 8                      initial production to Plaintiffs, the parties discussed and agreed on a

 9                      preferred method of production for subsequent productions.
10          To analyze the productions provided to Plaintiffs per the agreed discovery protocol for
11   past productions, Special Master provided the parties a new database that contained
12   responsive records based on the 47 search terms in the past production protocol. As
13   mentioned above, this Report uses all dates per the new discovery protocol, but does not
14   include an analysis based on the expanded 194 search terms in the parties’ new discovery
15   protocol, because it was received one business day before providing this Report to the parties.
16   See Exhibit 42.
17   III.   DATA SOURCES COLLECTED
18          Special Master relied on Defendants’ previous productions and collected data directly
19   from Defendants to complete the analysis and findings for this Report. Below is a description
20   of the hardware devices and online services relevant to this Report.
21               A. Domainwhois-verification.com Server (hereinafter “Domain Who Is Server”).
22               B. Kayako_support.onlinenic.com Server (hereinafter “Kayako Ticket Server”)
23               C. Dsktop-6h8msks Developer Workstation (hereinafter “Developer
24                  Workstation”). Defendants report that there was only one developer
25                  workstation used for programming and productions of the Kayako Ticket
26                  Database.
27               D. Amazon AWS online storage. Special Master requested any Ticket Database
28                  related files on Defendant’s Amazon AWS Storage drive but Defendants state

                                   -5-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1                  that “nothing relating to the Ticketing software/database information was/is on

 2                  AWS.”

 3               E. SVN or GIT version control software or online storage. Special Master located

 4                  GIT files and SVN files on the Developer Workstation and requested them, but

 5                  Defendants stated, “There was no version control for the files located in

 6                  E:\phpstudy\WWW\onlinenic\1.1 Code\script as located on the Developer

 7                  Workstation. There were no such logs.”

 8               F. Additionally, the database, backups, and files that Special Master requested

 9                  from Defendants included:
10                      1. Kayako Ticket Database
11                      2. Kayako Ticket Database Backups
12                      3. Ticket Attachment Files
13                      4. PHP and SQL Script Files
14                      5. Past Productions to Plaintiffs
15                      6. Defendants’ System and Log Files
16                      7. Directory Lists (text files) of Servers and Developer Workstation Listed
17                          above.
18               G. Special Master did not collect or analyze Defendants’ Zoho Support Ticket
19                  Database for this Report because its use did not begin until October or
20                  November 2020, per Defendants. The responsive ticket information from the
21                  Zoho Support Ticket Database will be provided to the parties soon based on
22                  the new production protocol provided to the Special Master on July 2, 2021.
23          According to Defendants, not all devices listed above contained responsive data.

24   Overall, Special Master collected information with a cumulative data size of 184 GB, 545,013

25   files, and a total of 442,680,623 database records. See Exhibit 3.

26   IV.    KAYAKO TICKET DATABASE

27          To manage support tickets, Defendants used a relational database known as the

28   Kayako Ticket Database (hereinafter “Ticket Database”). A “ticket” is created by Defendants’

                                   -6-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   staff and customers (e.g., resellers and users) any time someone requests support for a domain

 2   or other issue.

 3          In a relational database, complete information about an individual support ticket

 4   requires consolidating related data found across multiple tables. When a user creates a ticket,

 5   it is held in a parent table, “swtickets,” and is automatically assigned a unique numerical

 6   identifier (e.g., 1234) in the “ticketid” column. The ticket is also assigned a unique alpha-

 7   numeric identifier, which is stored in the “ticketmaskid” column. Additional ticket-related

 8   information is contained in related child tables, such as “swticketposts” (messages about a

 9   ticket) and “swattachments” (attached images, spreadsheets, or documents that are linked to a
10   ticket or ticket post). The parent and child tables rely on “ticketid” to relate to each other.
11   Therefore, complete information for a responsive ticket necessitates compiling information
12   from multiple tables.
13          There are 18 tables in the Ticket Database with ticket-related data.
14              •      swattachments
15              •      swauditlogs
16              •      swescalationpaths
17              •      swparserlogdata
18              •      swparserlogs
19              •      swticketdrafts
20              •      swticketemails
21              •      swticketlabellinks
22              •      swticketlabels
23              •      swticketmergelog
24              •      swticketmessageids
25              •      swticketpostindex
26              •      swticketpostlocks
27              •      swticketposts
28              •      swticketrecipients

                                   -7-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1                 •   swtickets
 2                 •   swtickettimetrack
 3                 •   swticketwords
 4          A. Kayako Ticket Audit Log

 5          The audit log gathers logged Kayako SupportSuite application actions performed by

 6   users, the system, or a staff user for a ticket. The ticket audit log provides information

 7   including, but not limited to: ticket created; ticket deleted; ticket post deleted; and ticket note

 8   deleted. See Kayako SupportSuite User Manual Version 3.60, Revision 13.

 9          B. Defendants’ Staff Members with Permission to Delete Tickets

10          Only users that are specifically authorized within the Ticket Database can delete
11   ticket-related information. In this case, Defendants’ staff members with permissions to delete
12   ticket-related information include:
13                 •   Le**@onlinenic.com - Last Visit 3/17/2021
14                 •   Ra****@onlinenic.com - Last Visit 3/8/2021
15                 •   Lu**@onlinenic.com - Last Visit 9/16/2020
16                 •   Wa****@onlinenic.com - Last Visit 3/11/2021
17
     V.     COLLECTION, PROCESSING, AND PRODUCTION METHODOLOGY
18
            This section provides a detailed overview of Special Master’s analysis and workflow.
19
            A. Collection of all Data Sources
20
            First, Special Master collected all possible electronically stored information
21
     (hereinafter “ESI”) from all data sources needed to analyze this Report. The collection began
22
     March 12, 2021, and was completed June 17, 2021; Defendants’ have produced to Special
23
     Master a total of 184 GBs of data. Overall, the ESI fell into the following high-level
24
     categories:
25
                   •   Databases and Database Backups
26
                   •   PHP & SQL Script Files
27
                   •   Directory List Text Files
28

                                   -8-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1              •   Ticket Attachment Files
 2              •   HTML Files
 3              •   Miscellaneous Files
 4          The collection was an arduous process involving numerous email requests, Skype

 5   conference calls, and Skype remote sessions with Defendants’ staff and their counsel, Perry

 6   Narancic. Throughout the process, Mr. Narancic was cooperative, responsive, and provided

 7   timely responses to Special Master’s voluminous requests. For example, he arranged and

 8   participated in late-night phone calls on weekdays and weekends, as well as remote computer

 9   sessions. Furthermore, he assisted with language and communication challenges between

10   Special Master and Defendants in China. In particular, he encouraged his clients to comply
11   with all information requests and to cooperate with Special Master. Accordingly, Mr.
12   Narancic’s professionalism facilitated the collection of the ESI required by Special Master for
13   this Report.
14          B. Backup Policies, Procedures, and Schedules
15          Special Master also requested copies of backup policies, schedules, and procedures
16   from Defendants for both servers and the Kayako Ticket Database. The Defendants did not
17   produce any of this information and stated there are no backups of either server or any
18   workstation referenced in this Report. Also, Defendants stated several times there were no
19   database backups of the Kayako Ticket Database before December 16, 2020. In total,
20   Defendants produced to Special Master four databases dated: December 16, 2020; March 13,
21   2021; March 17, 2021; and March 23, 2021.
22          During the analysis, Special Master discovered a 2013 Ticket database on Defendants’
23   server that was not previously disclosed or provided by Defendants. This database was

24   restored and analyzed for this Report.

25          C. Past Productions to Plaintiffs

26          Special Master requested from Defendants all past productions delivered to Plaintiffs.

27   Defendants stated they no longer had the productions, so Special Master requested the

28   productions from Plaintiffs. Eventually, Defendants stated they had found four of the five

                                   -9-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   productions and produced them to Special Master. Defendants could not find and produce to

 2   Special Master the November 27, 2020 production to Plaintiffs. However, Plaintiffs were able

 3   to provide the November 27, 2020, production to the Special Master.

 4            The following is the list of all past productions Defendants produced to Plaintiffs:

 5               •    July 15, 2020
 6               •    November 27, 2020
 7               •    December 26, 2020
 8               •    February 4, 2021
 9               •    February 5, 2021
10            D. Pre-Processing and Directory Organization
11            Next, Special Master organized and cataloged all the collections into a pre-processing
12   directory. The root folder was named “\Original Source Files” and all sub-directories were
13   organized based on file type: databases; directory listings; ticket attachment files; HTML
14   productions; programmer scripts; and miscellaneous files.
15            “Data Pre-Processing” involves preparing ESI for processing pre-analysis. Pre-
16   processing methods vary based on the data type(s) involved. For example, for the database
17   productions, pre-processing involved ingesting and consolidating all sources into the MySQL
18   “Consolidated Database” (described below). Other pre-processing methods are described
19   below.
20                    1. Database Files
21            The database MySQL Script and database backup files were organized into folders
22   (directories).
23               •    “\Pre-Processing\Databases\Kayako Ticket Server\2013-05-16”
24               •    “\Pre-Processing\Databases\Kayako Ticket Server\2020-12-16”
25               •    “\Pre-Processing\Databases\Kayako Ticket Server\2021-03-11”
26               •    “\Pre-Processing\Databases\Kayako Ticket Server\2021-03-14”
27               •    “\Pre-Processing\Databases\Kayako Ticket Server\2021-03-17”
28               •    “\Pre-Processing\Databases\Kayako Ticket Server\2021-03-23”

                                  -10-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1               •   “\Pre-Processing\Databases\Produced by Defendant\2021-01-28”
 2               •   “\Pre-Processing\Databases\Produced by Defendant\2021-02-04”
 3               •   “\Pre-Processing\Databases\Produced by Defendant\2021-02-05”
 4               •   “\Pre-Processing\Databases\Produced by Plaintiff\2020-11-27”
 5               •   “\Pre-Processing\Databases\Produced by Plaintiff\2020-12-26”
 6               •   “\Pre-Processing\Databases\Produced by Plaintiff\2021-02-04”
 7               •   “\Pre-Processing\Databases\Produced by Plaintiff \2021-02-05”
 8                    2. Attachment Files

 9           Each directory of attachment files was stored in a directory and cataloged. The

10   attachment files were files that were part of the attachments to emails that were received by
11   the Kayako Ticket Server and parsed into tickets, ticket posts, ticket emails, ticket recipients,
12   and ticket attachments. Each attachment was renamed, encoded, and cataloged by the Kayako
13   Ticket Server parser software. Special Master organized these files into directories based on
14   when they were received, as many of these directories and files were identical and there were
15   many duplicates. Special Master pre-processed and prepared each directory to perform
16   destruction and omission analysis.
17                    3. Directory Listings
18           Defendants, at the request of Special Master, produced directory listings for the
19   Kayako Ticket Server, Domain Who-Is Server, and the Developer Workstation named
20   “desktop-6h8msks” using a variety of tools. For the Linux servers, Defendants downloaded,
21   installed, and configured a utility named “Zabbix-Apache” and produced directory listings to
22   Special Master on more than one occasion.
23           Listings of files in directories produced to Special Master from the Kayako Ticket

24   Server, the Domain Who-Is Server, and the Developer Workstation were placed in the

25   directories listed in Exhibit 4.

26           Each directory listing was processed by a software program created by Special Master

27   to convert each of these listed files into a Comma Separated File (CSV). As CSV files,

28

                                  -11-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   Special Master was able to import them into MySQL and create the new databases named

 2   here:

 3               •   “files_kayako_support_2021_03_16”
 4               •   “files_kayako_support_2021_04_06”
 5               •   “files_kayako_support_2021_04_13”
 6               •   “files_domainwhois_2021_03_16”
 7               •   “files_domainwhois_2021_04_06”
 8               •   “files_domainwhois_2021_06_04”
 9               •   “files_desktop_6h8msks_2021_05_03”
10           Special Master then created SQL Scripts to move the contents of directory listings
11   from these databases into the Consolidated Database (described below). Special Master then
12   used these records to create scripts and file requests of Defendants.
13                    4. HTML Productions
14           One production to Plaintiffs and one production to Special Master contained ticket
15   information in HTML file format. The HTML information in both productions included the
16   Ticket Number, Subject, Email Address, Contents, and Date columns from the ticket
17   (‘swtickets’) and ticket posts (‘swticketposts’) tables in the database tables.
18           To pre-process these files, Special Master first wrote custom software to convert these
19   HTML files into CSV files to facilitate importing them into the Consolidated Database.
20   However, due to the nature of the information contained in the “contents” column, the files
21   were always corrupt. So, Special Master modified the software to instead insert these HTML
22   tickets directly into the Consolidated Database for processing and production. HTML
23   directories are listed in Exhibit 5.
24                    5. Programming Scripts
25           Special Master requested Defendants to provide the programming script files they
26   used for productions. Defendants provided some but not all. The files received were organized
27   in the directories listed in Exhibit 6 for pre-processing.
28

                                  -12-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1                    6. Miscellaneous Files

 2          From time to time, Special Master received files that did not fit into any of the above

 3   categories, and they were pre-processed from the directories listed in Exhibit 7.

 4          E. Consolidated Database

 5          Processing, analyzing, and producing information spread across multiple databases is

 6   particularly challenging and time-consuming. To ensure accuracy and efficiency, Special

 7   Master centralized all data into a single database. Thus, searching, producing, and cataloging

 8   information became considerably faster.

 9          The newly consolidated database for production was named “kayakodball”
10   (hereinafter “Consolidated Database”). In creating the Consolidated Database, over 250 SQL
11   scripts were created by Special Master to populate the tables in the Consolidated Database
12   with all the records in the source databases. SQL Scripts were also generated to compare
13   record counts to verify that no records were dropped when consolidating the database records.
14   Special Master imported each set of produced data sources into the “Consolidated Database”
15   and assigned a “Database ID” to distinctly identify each set of files. See Exhibit 8.
16          In the consolidated database, Special Master found 3,010,020 ticket records and
17   403,601,954 ticket-related records from all database versions reviewed. Thus, each ticket had
18   an average of 134 ticket-related records. Specifically, there were:
19
            Record Type                                  Total Records
20
            Tickets (swtickets, tmp_data)                    3,025,281
21
            Ticket-Related Records                         403,601,954
22

23
            Ticket Posts (swticketposts,                    12,389,604
24          temp_data, htmltickets,
            kayako_searchterms tables)
25          Sub-posts or messages related to a ticket.

26          Attachments (swattachments table)                  877,211
            Records such as images, spreadsheets, or
27          documents that are linked to a ticket or
            ticket post.
28

                                  -13-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1
            Other Records                                  22,786,573
            Other related items such as email
 2
            addresses, word indexes, notes, etc.
 3          Table 1. Overview of tickets and ticket-related records.
 4          Collectively, there are 22 database versions, from all collected data sources, with a
 5   cumulative file size of 82 GB and a total of 442,680,623 records across all versions of the
 6   database.
 7          F. Data Processing
 8          To facilitate responsive and privilege searches, Special Master created scripts to add
 9   the following columns to each table in the Consolidated Database that had been consolidated
10   from the source databases:
11
                 •   “batesid” - This is a unique identification number or Bates Number generated
12                   for each record in each table in the database. These numbers are unique within
13                   each table, as each table is treated as a separate production file.
14
                 •   “searchtermsfound” - This column contains a list of any of the responsive
15                   search terms that were found for the record based on the production protocol.
16
                 •   “ProducedBefore” - This column is set to “Yes” or “No” based on whether the
17                   record was ever part of a previous production to the Plaintiffs.
18
                 •   “Responsive” - This column is set to “Yes” if the record was responsive based
19                   on the agreed protocol for the past collections and needed to be produced, and
20                   “No” or blank if it was not responsive.
21
                 •   “Related” - This column is set to “yes” if it is related to a ticket marked
22                   responsive in a related table anywhere in the database.
23          Special Master then created scripts to populate the “ProducedBefore” column for each
24   record in the Consolidated Database that had been produced by Defendants to Plaintiffs, and
25   SQL scripts were generated to verify the records counts between the source databases and the
26   Consolidated Database. See Exhibit 9.
27

28

                                  -14-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1          Special Master then created scripts to populate the responsive column for each table

 2   and table records based upon the search terms in the agreed discovery protocol for past

 3   productions. See Exhibit 10.

 4          Special Master then created a table in the Consolidated Database named

 5   “responsivetickets” (hereinafter “Responsive Tickets Table”). This table contained the Ticket

 6   ID or Ticket Mask ID (Ticket Number) for any ticket that was marked as responsive in the

 7   system. Special Master then created and executed SQL Scripts that populated the Responsive

 8   Tickets Table with all the responsive ticket information from each of the responsive rows in

 9   the source tables.
10          For records not marked as responsive, Special Master created scripts to mark records
11   as “related” in the database if the record was a related part of the responsive ticket. This
12   allowed Special Master to produce every column in every table for any information that is
13   contained in each responsive ticket. Thus, all responsive ticket records will be marked “Yes”
14   in either the related or responsive columns. Conversely, a non-responsive ticket will have the
15   column marked with a “No”.
16          G.      Data Analysis
17          Special Master applied a variety of analysis methods to arrive at the conclusions in
18   this Report. Briefly, a few primary methods are described below.
19          One method used to determine if data was deleted, was to analyze index numbers in
20   each table. Tables assign index numbers automatically to each new record in sequential order.
21   This is known as auto-indexing. For example, the first record will be assigned the index ID of
22   1, and subsequent records are assigned the next sequential number. This can reveal the
23   maximum number of records in the table, as well as any gaps in sequential numbering created
24   by deleted records. Special Master applied this analysis to all the database tables.
25          Another method included comparing temporary records tables to live database records.
26   Programmers commonly create temporary tables in a database to test queries, test
27   programming code, update or delete data, and analyze data in a table. Temporary tables
28   should reflect the records in the live database. When a temporary table has records that no

                                  -15-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   longer exist in the live database, this indicates they were used to test deletion scripts, which

 2   were then applied against the live Database, and resulted in deleted records from the database.

 3          In addition to the methods listed above, Special Master also reviewed and analyzed

 4   directory listings from the file servers and Developer Workstation, reviewed PHP

 5   programming scripts, reviewed attachment file directories, produced, and looked for missing

 6   database records and attachments, compared previous production records to the live database

 7   to identify missing or deleted records, and analyzed and compared 22 different databases

 8   created from source information, among other things.

 9          H.      Database Production for Report
10          Accompanying this Report, Special Master provided both parties a MySQL database
11   with all the responsive records (per the search terms in the past agreed discovery protocol),
12   responsive attachment files, and Excel spreadsheets containing the analytics data used for
13   working data to provide the information, findings, and conclusions in this Report.
14          Special Master produced responsive database records and attachments in the Kayako
15   Ticket Server from the Consolidated Database. The database provided to the parties with this
16   Report had a file size of 26 GB.
17          To produce the ticket attachment files, Special Master used custom software and an
18   industry-standard dtSearch engine to perform full-text indexing and searching for responsive
19   attachment files. This software assigns its own Bates Number to each attachment, creates a
20   spreadsheet with reference information, and includes the responsive records flagged with
21   matching responsive keywords. Hyperlink columns in the spreadsheet allow the parties to
22   quickly open PDF and Text files with the information from content fields in the database that
23   had voluminous text content.
24          To produce the production database, Special Master created
25   a database named “kayakodball_prod” (referred to as the “Consolidated” database in this
26   report) to serve as the production database for this Report. and then created scripts for each
27   table. Next, he copied and indexed any records that were marked responsive or related.
28

                                  -16-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   Special Master then scripted and ran table maintenance to optimize the indexes and remove

 2   any disk space that was no longer needed for this database.

 3          Special Master then backed up each of these new databases and compressed and

 4   archived the database backups. Special Master then created scripts to compare the record

 5   counts in each table in each of these production databases and compared the results. See

 6   Exhibit 11. The results were identical, and Special Master will use the second method

 7   whenever producing records in the future.

 8          The final production database is a relational database that has been reindexed to

 9   optimize it for reporting and legal review by the parties. Most of the original indexing of the
10   tables was done to optimize it for being a live database, and these unnecessary indexes have
11   been removed to save disk space.
12   VI. DEFENDANTS FAILED TO PRESERVE ESI
13          Defendants failed to preserve potentially relevant ESI for this matter pre-litigation,
14   post complaint filing, during discovery, and even after the appointment of Special Master.
15   Defendants have sophisticated IT skills, requisite infrastructure, and have had ample time to
16   implement backup management software and procedures. Despite these circumstances, they
17   failed to preserve and produce relevant ESI. The exact extent of Defendants’ backups is
18   unknown as Defendants obfuscated their backup management systems for servers, files, and
19   databases.
20          A. Defendants’ Have the Requisite IT Skills and Software Developer Knowledge
21                to Backup and Preserve ESI
22          Notably, Defendants resell backup services to their clients. To preserve and produce
23   data, a company must have backup systems and procedures in place. Through their publicly
24   available website, found at https://onlinenic.com/en/, Defendants offer, market, and resell
25   backup services. A copy of OnlineNIC Inc.’s webpage is attached to this Report as Exhibit
26   12. Thus, Defendants have demonstrated they have the capacity and infrastructure to backup
27   and preserve responsive ESI.
28

                                  -17-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1           Secondly, Defendants have advanced software developer skills. To produce or delete

 2   data from a database, a company must have sufficiently advanced software developer skills.

 3   In this case, Defendants created PHP script files (text files with programming code) to query

 4   the Ticket Database and produce responsive materials to Plaintiffs and Special Master. In

 5   producing responsive ESI to Special Master on March 25, 2021, April 15, 2021, and April 26,

 6   2021, Defendants used 28 PHP script files. See Exhibit 13. Their third production even

 7   included three additional PHP script files. See Exhibit 14. Furthermore, Defendants used a

 8   SQL statement file (programming code used to copy and delete database records and

 9   attachment files) and likely used these scripts or similar scripts to retrieve responsive
10   information for the productions to Plaintiffs. See Exhibit 15. Defendants’ repeated
11   employment of PHP scripts and SQL statements demonstrates their advanced level of
12   software developer skills. Therefore, Special Master concludes Defendants possess the
13   requisite competence to backup, preserve, produce, and even delete responsive records from
14   the Ticket Database.
15           B. Defendants Have Inadequate Backup Processes Despite Having Since At
16               Least October 2019 to Create Comprehensive Backup Procedures
17           Defendants’ backup processes are inadequate. The federal rules of civil procedure
18   require a party to take reasonable steps to preserve ESI from the moment they can reasonably
19   anticipate litigation. Fed. R. Civ. P. 37(e). In this case, Plaintiffs filed the complaint on
20   October 28, 2019. Dkt. No. 1. At a minimum, Defendants’ duty to preserve arose at least by
21   the time served with Plaintiffs’ complaint. Special Master was appointed on March 3, 2021.
22   Dkt. No. 72. By the time of Special Master’s appointment Defendants had over one year to
23   address backup procedures and data retention policies in accordance with their preservation
24   obligations. However, despite this extensive period for implementing comprehensive backup
25   systems such as basic backup management software, Defendants failed to do so.
26

27

28

                                  -18-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1          C. Alternatively, Defendants Have a Robust Backup Management System but

 2              Have Obscured or Hidden Backups

 3          Defendants obfuscate their backup processes. Generally, data backup for an online

 4   services company is crucial, not only for litigation, but also for business security, stability,

 5   compliance, and protection of client and intellectual property. Hence, companies typically act

 6   accordingly to institute clear backup policies and procedures. However, in this case,

 7   Defendants have not identified or defined their backup management system, and in fact, have

 8   been untruthful.

 9          For example, during discovery, Defendants claimed no backups existed; however, this
10   was not true. There are multiple instances of backups existing in seemingly random places.
11   First, SQL backup files and attachment files were found on both servers in multiple locations
12   and archive files. See Exhibit 16. In addition, Special Master found 11 unique backup scripts

13   for the databases. Exhibit 17 shows the 11 backup scripts with the metadata. Furthermore,

14   some of the productions Defendants made to Plaintiffs would have required creating backups,

15   which were created on developer workstations but were not disclosed. Id. Further still, even

16   though Defendants claimed that no programming files were on the servers, the files were

17   present in their third production to the Special Master on April 26, 2021. See Exhibit 18.

18   Finally, around May 2021, Special Master found a fifth database on Defendants’ server they

19   had failed to provide or disclose. Thus, Defendants have a history of being untruthful or

20   misleading regarding the nature and extent of their backups and backup systems and

21   procedures.

22          Therefore, given Defendants’ sophisticated IT skills, a business need for backups, and

23   a history of untruthfulness, Special Master believes it is likely there are additional files,

24   including developer script files, on undisclosed or unlocated developer workstations or

25   servers.

26   VII.   DEFENDANTS DESTROYED DATA

27          Not only did Defendants fail to preserve ESI, but they also deleted significant amounts

28   of records. In fact, Defendants deleted 52.35% of the ticket-related database records

                                  -19-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   (11,059,388 records) in the Ticket database. Of these deleted records, Special Master

 2   estimates 30% of those records (based on the percent of responsive records from July 1, 2015

 3   – July 15, 2020), or 3,317,816 were responsive to the agreed past discovery protocol. This

 4   ticket-related data is located in the following six tables: swtickets; swticketposts;

 5   swticketnotes; swattachments; swticketmergelog; and swauditlogs. Broadly speaking,

 6   Defendants employed two primary methods to delete data: 1) deletion using the Kayako

 7   SupportSuite Application; and 2) deletion directly from the Ticket Database using PHP and

 8   SQL scripts.

 9           Special Master utilized a variety of analysis methods to identify instances of deleted
10   records. This Report narrative covers the most relevant examples of the record types that
11   Defendants deleted, including ticket posts, ticket notes, attachment files, and HTML files.
12           A. Defendants Deleted Records Using the Kayako SupportSuite Application and
13               Obscured User Activity by Deleting Audit Logs
14           For earlier ticket records, Defendants deleted records using the Kayako SupportSuite
15   Application (hereinafter “Application”). When using the Application, user activity is recorded
16   in the audit logs. An example of this is when records are deleted from the ticket and ticket-
17   related tables. According to the Application’s audit logs, Defendants deleted: 4,106,268
18   tickets; 85 ticket posts; 8,991 ticket notes; and 25,253 e-mail recipients. This is a total of
19   4,140,597 records. As summarized in Table 2 below, 93% (3,863,451 records) of the deleted
20   records were created in 2008, 2009, and 2010, while newer records constitute a much smaller
21   portion of the total.
22            Year Created      Number of Deleted Database Records
23            2020              302
24            2019              22,348
25            2018              3,209
26            2017              2,926
27            2016              548
28            2015              16,850

                                  -20-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1           2014              1,204
 2           2013              25,859
 3           2012              52,596
 4           2011              151,304
 5           2010              809,668
 6           2009              1,782,491
 7           2008              1,271,292
 8                     Total 4,140,597
 9          Table 2. Total records deleted using the Kayako SupportSuite Application (2008 –
10   2020), organized by record creation date.
11          However, not only did Defendants delete potentially responsive records using the
12   Application, but they also deleted the Application’s audit logs. Audit logs provide some
13   information about when a user deletes records. In this case, there were over 15 million audit
14   log records. Defendants deleted approximately 7.5 million of those records (roughly one-
15   half). Special Master was able to recover 459,226 audit log records from a May 16, 2013
16   database. For this reason, the records in Table 2 are organized by the records’ creation date
17   data, as it was the only information consistently available. This made analyzing user activity
18   considerably more challenging and thereby limits Special Master’s ability to determine a
19   precise timeline of when Defendants deleted these records, or even when “most” of the
20   records were deleted.
21          Furthermore, users require special permission to access the database and delete the
22   audit logs. Because audit logs are so small and require little storage, the primary benefit to
23   deleting audit logs is to hide user activity (such as deleting tickets). Therefore, Special Master
24   concludes that the audit logs were deleted by Defendants to hide their deletion activity.
25          B. Defendants Deleted Records Directly from the Ticket Database After
26              Production
27          In more recent years, Defendants began deleting records directly from the live Ticket
28   Database using PHP and SQL scripts. Based on the creation date of PHP and SQL scripts

                                  -21-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   used for deletion, Special Master found Defendants began using this technique in more recent

 2   years.

 3            It is considered best practice, and certainly a common practice, to never delete data in

 4   a database because it can create problems with the database’s referential integrity. For

 5   example, when deleting tickets directly in the database, a programmer can leave orphan

 6   records (e.g., a ticket record is deleted, but associated ticket post and ticket attachment records

 7   remain). Here, Defendants deleted records in some tables but not all related tables, thereby

 8   creating orphan records in multiple places. If Defendants wished to make the deleted tickets

 9   inactive, they should have closed tickets in the Application by setting the ticket status field to
10   “Closed.” Instead, Defendants’ deleted records directly from the database and left a lot of
11   orphaned records behind as markers of deletion activity.
12            Further indicators of data deletion directly from the Ticket Database existed in a
13   comparison between Defendants’ productions and to the live Ticket Database. In fact, this
14   showed that Defendants even deleted database records in the live database after initially
15   producing the records to Plaintiffs. During multiple productions from Defendants, some
16   records were contained in one production but were missing from subsequent productions and
17   from the live Ticket Database itself.
18            For example, on March 23, 2021, Special Master collected Defendants’ Ticket
19   Database and compared it to Defendants’ production dated November 27, 2020. By relying on
20   the Ticket Mask Id, Special Master found that 208 of the 20,615 distinct tickets produced
21   November 27, 2020, were missing from the Ticket Database on and after December 16, 2020.
22   See Exhibit 19.
23            In another example, on or around March 12, 2021, Defendants’ programmer created a
24   table named ‘tmp_data’. See Exhibit 20. This temporary table contains a subset of the
25   columns found in the live Ticket Database table named ‘swtickets’ and ‘swticketposts’. See
26   Exhibits 21 and 22. In fact, there are 3,716 matching ticket records between these two tables
27   (76% match). Id. However, the tmp_data table has 1,146 ticket posts that were since deleted
28   from the live Ticket Database table. Id.

                                  -22-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1          Similarly, on or around March 12, 2021, Defendants created a table named

 2   ‘temp_data’. See Exhibit 23. This table contains a subset of the columns found in the live

 3   Kayako Ticket Database table, “swticketposts”. Id. There are 1,278,354 matching ticket posts

 4   between the two tables. Id. However, there are 89,294 ticket posts in the ‘temp_data’ table

 5   that were since deleted from the live Ticket Database table. Id.

 6          In addition to the records deleted between productions to Plaintiffs, Special Master

 7   found that Defendants deleted 1,281 unique tickets and 445 related ticket posts from the live

 8   Ticket Database after these tickets and posts were initially produced to Special Master. These

 9   records are reproducible using the Consolidated Database created by Special Master and will
10   be provided to the parties in a new production set.
11          For records deleted directly from the database, Special Master cannot determine when
12   the records were deleted. When records are deleted directly from the database, as opposed to
13   via the Application, there are no audit logs; a record created 10 years ago could have been
14   deleted 8 years ago or 8 days ago. Had Defendants provided regular backups, Special Master
15   could have provided a timeline for deleted records. In this case, Defendants did not maintain
16   or provide regular backups, and therefore he cannot determine when records were deleted.
17          However, Special Master did discover a 2013 database. By recovering the 2013
18   database, Special Master gleaned some context behind Defendants’ deletion activities. In
19   particular, Special Master noted that post-2013, Defendants used programming scripts to
20   delete more records from the Ticket Word table (swticketwords) and Post Index table
21   (swticketpostindex) than any other table including tickets, ticket posts, attachments, and audit
22   logs. Special Master believes Defendants were removing word index records so that search
23   terms related to litigation would not be linked to specific tickets or ticket-related records. The
24   Special Master found that the Defendants deleted 2,919,130 database records between May
25   16, 2013, and December 16, 2020. The Special Master also found an additional 4,102,283
26   database records that were deleted and missing in the live ticket database as of March 23,
27   2021. This results in a total number of 7,021,413 orphaned records which means that there is
28   an incomplete set of records for the tickets.

                                  -23-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1          Below is a summary of the surviving responsive tickets:

 2              •   No date filter: 65,810 tickets
 3              •   Filtered for July 1, 2015 – July 14, 2020: 32,906 tickets
 4              •   Defendants previously produced to Plaintiffs: 32,054 tickets
 5              •   Additional tickets produced by Special Master to Plaintiffs: 852 (2.7% more)
 6          C. Defendants Deleted Ticket Posts

 7          Defendants deleted ticket post records from the live Ticket Database and thereby

 8   created orphaned ticket post index records. When a database record is deleted from a child

 9   table, such as a subsequent ticket post, but not delete the corresponding record from the parent
10   table (based on the unique identifier), the result is an “orphaned record”. In this case, Special
11   Master found orphaned records by analyzing and comparing the unique Ticket ID fields in all
12   14 ticket-related tables. Specifically, Special Master found 987,862 orphaned ticket post index
13   records, which is 3.6% of the total. See Exhibit 24. This means that the actual ticket posts, that
14   originally referred to these orphaned records, have been deleted. It is also noteworthy that
15   only 158 of these unique posts are also missing from the “temp_data” table of posts and is a
16   further indication of Defendants deletion from the database.
17          Below is a summary of the surviving responsive tickets posts:
18              •   No date filter: 253,506 ticket posts
19              •   Filtered for July 1, 2015 – July 14, 2020: 93,669 ticket posts
20              •   Defendants previously produced to Plaintiffs: 91,053 ticket posts
21              •   Additional tickets posts produced by Special Master to Plaintiffs: 2,616 (2.9%
22                  more)
23          D. Defendants Deleted Ticket Notes
24          Defendants deleted ticket note records from the Ticket Database. Database indexes
25   commonly assign unique numerical identifiers in consecutive order to new records
26   automatically. This is known as auto-incrementing. Gaps in the sequential numbering of an
27   index table are evidence that records were deleted. Special Master applied this analysis to the
28   ‘swticketnotes’ table, where ticket notes are stored. He identified 612,729 ticket note records

                                  -24-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   were deleted, representing 83% of the total ticket notes that were in the system. See Exhibit

 2   25. Audit logs show that 8,991 of these ticket notes were deleted via the Application, and the

 3   rest were deleted directly from the live ticket database.

 4          E. Defendants Deleted Attachment Database Records

 5          Not only did Defendants delete attachment files, as discussed above, they also deleted

 6   attachment database records. Many of the attachment database records were responsive to

 7   Plaintiffs’ discovery requests and the agreed past discovery protocol of the parties.

 8          As discussed above, Special Master determined Defendants had a total of 432,033

 9   attachment database records. By the time of Special Master’s final collection on March 23,
10   2021, Defendants had deleted 296,349 attachment database records – 68.59% of the total –
11   leaving only 135,684 attachment records. Of the remaining 135,684 attachment records,
12   24,719 were responsive (18.22%). Id. Accordingly, of the 296,349 deleted attachment
13   database records, an estimated 53,995 attachments may have been responsive (18.22%).
14          Additionally, Defendants created orphaned attachment files when they deleted ticket
15   records, such as tickets or ticket posts, that had attachments, and failed to delete the
16   referenced attachment files. By comparing the attachment file directory to the live Ticket
17   Database, Special Master found 8,165 orphaned attachment files representing 8.22% of the
18   total. The 8,165 orphaned attachment files indicate Defendants deleted the corresponding
19   ticket records in the database. Because any given ticket record could have more than one
20   attachment, Special Master is unable to conclude how many ticket records were deleted.
21          Furthermore, of the 8,165 orphaned attachment files, Special Master used the agreed
22   past discovery protocol and determined that 97 are responsive. However, because they were
23   orphaned, they are no longer linked to a specific ticket or ticket post, and therefore contextual
24   information is missing for those attachment files. See Exhibit 28. Exhibit 28 shows the
25   responsive files categorized and totaled by file type.
26          Special Master noted that originally the total number of attachment database records
27   and the total number of attachment files was 432,033 each. Defendants deleted more
28   attachment files in the file system (331,390) than attachment database records (296,349). A

                                  -25-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   user must have special permissions, and more importantly, expertise, to delete database

 2   records or attachment files either directly from the database or the file system. The deleted

 3   attachment files and records cannot have happened by accident. Therefore, Special Master

 4   concludes it must have been intentional.

 5          Below is a summary of the surviving responsive database attachment records:

 6              •   No date filter: 44,004 attachment database records
 7              •   Filtered for July 1, 2015 – July 14, 2020: 23,464 attachment database records
 8              •   Defendants previously produced to Plaintiffs: 22,223 attachment database
 9                  records
10              •   Additional attachment database records produced by Special Master to
11                  Plaintiffs: 1,241 (5.6% more)
12          F. Defendants Deleted Attachment Files
13          Defendants deleted attachment database records from the Ticket Database, as well as
14   attachment files from the file system. The Ticket Database stores an attachment file’s
15   location, original file name, and stored file name as a database record. See Exhibit 26. The
16   actual attachment files, however, are stored in the file system on the server, outside the
17   database. Id. Attachment files consist of various file types such as images; documents; and
18   spreadsheets. Critically, attachments may be the most important part of a ticket, much like an
19   email attachment may be more important than the email message itself. In this case,
20   attachments included copyright notifications; email conversations; legal demands; account
21   summaries; complaints; letters; legal information; financial information; and more.
22          Special Master determined that over time, Defendants had a total of 432,033
23   attachment files in the file system. While a ticket can have more than one attachment file,
24   each attachment file has an associated database record in a one-to-one relationship. Therefore,
25   since there were 432,033 attachment files in the file system there were also 432,033
26   attachment records in the database.
27          However, by the time of Special Master’s final collection on March 23, 2021,
28   Defendants had deleted 331,390 attachment files – 76.70% of the total. Of the surviving

                                  -26-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   100,643 attachment files, 23,464 were responsive (23.31%) to the search terms in the agreed

 2   past production protocol. See Exhibit 27. To determine how many deleted attachment files

 3   would have been responsive, Special Master used the 23.31%, responsive rate (the only

 4   number available). Under this methodology, approximately 77,247 deleted attachment files

 5   would have been responsive. Furthermore, the responsive rate for both the surviving and

 6   deleted attachment files would likely be higher using the expanded list of search terms (194

 7   instead of 42) in the new discovery protocol.

 8           Finally, it is important to note that while some attachment files are a single file like a

 9   PDF, others are compressed archive files like zip, tar, or gz files, and contain many individual
10   files. In other words, while the number of deleted attachment files is 331,390 there are likely
11   many more deleted individual files within those attachment files.
12           G. Defendants Deleted HTML Files, Tickets, and Ticket Post Records
13           Defendants deleted tickets after initially producing them to Special Master. On March
14   12, 2021, Defendants produced to Special Master a backup of the live Ticket Database. The
15   backup contained HTML files that were named in the same format as the original HTML
16   production Defendants made to Plaintiffs on July 15, 2020. Database record comparison
17   revealed they also deleted 1,073 tickets after initially producing them to Special Master in the
18   backup of the live Ticket Database on March 12, 2021.
19           Based on a group of search terms, Special Master requested Defendants produce 251
20   matching HTML files that were located on the Kayako Ticket Server as they were not
21   included in any of the previous productions. Defendants produced them to Special Master on
22   April 26, 2021. These newly produced HTML files contained 334,400 partial ticket post
23   records and 8,313 partial ticket records. A subset of 190 of these tickets were responsive
24   across all ticket-related tables.
25           Of the 190 responsive tickets, 31 of the tickets and 11,700 related ticket posts were
26   deleted from the Ticket Database. In addition, the HTML files contained 1,073 tickets that
27   Defendants since deleted and no longer exist in the Ticket Database. Of these 1,073 tickets,
28   14 tickets were responsive and had been produced to Plaintiffs before. Id. Finally, the PHP

                                  -27-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   Script code used to produce these HTML files is not located on the servers. This is additional

 2   evidence that Defendants deleted records from the Ticket database during discovery.

 3          All HTML files discussed above are named with a prefix consisting of a search term

 4   from the parties’ past discovery protocol. “JenryHaris” is one of the search terms in the past

 5   discovery protocol. When sorted alphabetically, Special Master saw that all files, beginning

 6   and ending, were named with the JenryHaris prefix. See Exhibit 29. This indicates that there

 7   were most likely other files with prefix names for other search terms that were deleted or

 8   removed after they were created on March 12, 2021, and were not available for subsequent

 9   productions. Relatedly, Defendants did not produce any HTML files or records related to
10   JenryHaris in the July 15, 2020, HTML production to Plaintiffs. See Exhibit 30.
11          H. SQL Files and SQL Backups of Productions
12          Defendants deleted SQL files and databases they previously provided Plaintiffs.
13   Generally, to produce a database, a programmer writes and executes SQL scripts to define the
14   scope of the produced database. Defendants produced MySQL Database Script Files
15   containing records for MySQL Database productions to Plaintiffs in December of 2020
16   through February of 2021. However, neither of these databases, or any associated
17   programming or SQL backup scripts, are located on any of the servers or workstations. This
18   poses two concerns. First, Special Master is unable to conclude how these production files
19   and backups were created to evaluate their adequacy at producing responsive records. Second,
20   the question remains of whether they were deleted from one of the two servers, whether they
21   were produced on the Developer Workstation and then deleted, or whether they were
22   produced on an undisclosed developer workstation.
23          I. Defendants Used PHP and SQL Deletions Scripts to Delete Ticket Database
24              Records and Attachment Files
25          Defendants' programmers created specific PHP and SQL scripts to delete database
26   records and attachment files. Scripts can be used to produce responsive records as well as to
27   delete records from a database. Special Master found 28 PHP scripts and one SQL script that
28   used record deletion language. See Exhibit 13. Here is a sample of some of those scripts:

                                  -28-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1              •   delete from swattachments where ticketid...
 2              •   delete from swauditlogs where ticketid...
 3              •   delete from swescalationpaths where ticketid...
 4              •   delete from swparserlogs where ticketmaskid...
 5              •   delete from swticketlocks where ticketid...
 6              •   delete from swticketmergelog where oldticketmaskid...
 7              •   delete from swticketmessageids where ticketid...
 8              •   delete from swticketpostindex where ticketpostid...
 9              •   delete from swticketpostlocks where ticketid...
10              •   delete from swticketposts where ticketid...
11              •   delete from swticketrecipients where ticketid...
12          Special Master can only conclude that Defendants programmatically deleted files
13   using PHP and SQL scripts, and tried to hide evidence of their use by deleting the scripts
14   themselves.
15          J. Text File Created by Defendants’ PHP Script Files Reveals Deleted
16              Attachment Files and Attachment Database Records
17          Defendants deleted 472 physical attachment files using PHP scripts. Defendants
18   demonstrate their ability to copy or delete files to and from servers with PHP Programming
19   Scripts, and to work with remote and local databases. On March 17, 2021, Defendants created
20   two PHP script files named ‘zenghy_tmp_20210317.php’ and
21   ‘zengy_attachment_copy_file.php.’ The latter PHP script generated a text file named
22   ‘/root/duo_files.txt.’ See Exhibit 31. This file was located on the Kayako Ticket Server, was
23   requested by Special Master, and was delivered on April 26, 2021. The file references 472

24   unique attachment files by their file paths. See Exhibit 31. However, when Special Master

25   cross referenced the directory lists from both servers and developer workstation, the 472 files

26   were not listed, indicating those attachment files had been deleted.

27          In addition, Special Master found that a subset of the 472 attachment files were

28   missing corresponding database records. Special Master cross-referenced all 472 files against

                                  -29-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   the ‘swattachments’ table to look for matching database records. Notably, 34 of the listed

 2   attachment files did not have matching database records in the cross-referenced table. See

 3   Exhibit 32. The fact that the 34 records were no longer included in the ‘swattachments’ table

 4   indicates Defendants deleted those attachments from the database with the PHP script file.

 5   Notably, this deletion occurred just before Defendants’ first production to Special Master on

 6   or about March 17, 2021.

 7          Conspicuously, the ‘/root/duo_files.txt’ file also revealed other actions. For example,

 8   the file was used to copy files to a directory, '/home/jumpol/script/ticket_20210106/files/',

 9   which itself no longer exists. Furthermore, and most notably, the text file references database
10   servers, other than the live database server, indicating that there are undisclosed servers.
11   VIII. DEFENDANTS WITHHELD DATA FROM PLAINTIFFS
12          There are multiple indicators of withheld records within Defendants’ productions to
13   Plaintiffs including using an incorrect date filter; applying restrictive searches; providing
14   incomplete database records; excluding attachment files; and more.
15            A. Defendants Excluded Two Years’ Worth of ESI with Restrictive Date
16                Filters
17          Defendants withheld multiple years’ worth of ESI. The parties agreed to a date filter of
18   July 1, 2015, to July 14, 2020, for their past productions. See Exhibit 2. However, for each
19   production made to Plaintiffs, Defendants used different date ranges. For example, one PHP
20   script Defendants employed to query the Ticket Database for responsive records requested
21   data back to 2015, while a subsequent production only went back to 2017. See Exhibits 33
22   and 34. The varied date ranges were not consistent with the agreed past production protocol
23   and resulted in withholding responsive data from the Plaintiffs.
24            B. Defendants Withheld ESI by Executing Incomplete Database Searches
25          Defendants withheld responsive ESI found in ticket-related tables. The parties’
26   discovery protocol for past productions included a list of search terms. See Exhibit 2. The
27   protocol did not specify which database tables or columns to search for the responsive records
28   and did not specify if search terms should apply to ticket attachments. However, it is common

                                  -30-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   and a best practice to apply search terms to the entire unit of an item. For example, in an email

 2   production, search terms should be applied against the entire email by including the header,

 3   content, metadata fields, and all attachments to an email. Applying this same logic,

 4   Defendants should have applied the search terms to the ticket database table, and all ticket-

 5   related database tables.

 6          In the present case, Defendants executed search terms inconsistently. In some

 7   instances, Defendants’ responsive searches were restricted to the email, subject, and contents

 8   columns of the tickets or ticket posts table. See Exhibits 35 and 36. In other scripts, search

 9   terms were applied in some but not all tables. See Exhibit 37. Therefore, Defendants withheld
10   responsive ticket-related ESI.
11            C. Defendants did not Search Attachment Files
12          The agreed past discovery protocol contained search terms. However, the search terms
13   were not applied against the full text of each ticket attachment file to determine
14   responsiveness. All these attachments were subsequently not produced, and some were in fact
15   deleted, as discussed in Section VII. Special Master verified this by creating a full-text search
16   index of all the attachment files to search the attachment files for each search term.
17            D. Defendants Withheld Responsive Ticket-Related Tables and Table Columns
18                in Early Productions
19          Defendants did not produce complete ticket records to Plaintiffs. As discussed
20   previously, complete responsive ticket data from the relational Ticket Database requires
21   consolidating information across multiple related tables. However, Defendants only included
22   a subset of all ticket-related database tables in their productions. See Exhibit 38. Specifically,
23   Defendants withheld records from most of the ticket and ticket post-related tables described in
24   productions conducted before December of 2020.
25          Furthermore, Defendants’ productions not only excluded entire database tables, as
26   described above, but their productions also failed to include all columns within the tables that
27   they did produce. See Exhibit 39. As an analogy, imagine a party producing responsive Excel
28   spreadsheets, but then deleting certain columns in the spreadsheet. Therefore, by not

                                  -31-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   providing all ticket-related tables, and all columns in each database table, Defendants

 2   withheld responsive ticket-related information from Plaintiffs.

 3            E. Defendants Produced Limited Attachment Files that were not in a

 4                  Reasonably Useable Format

 5          Defendants produced 21,455 ticket attachments to Plaintiffs in rather unusable format.

 6   Ticket attachments to responsive tickets include many file types such as PDFs; emails; HTML

 7   documents; spreadsheets; Word documents; PHP files; compressed files (e.g., rar, gz, and zip

 8   files); Text files; and ISO. As discussed previously, attachment content can be the most

 9   important part of a ticket, much like email attachments to an email. Special Master reviewed
10   numerous attachments and found the attachments were particularly important to provide
11   context and information about the tickets. In fact, among the withheld attachments were:
12   copyright notifications; email conversations; legal demands; account summaries; complaints;
13   letters; legal information; financial information, and more.
14          In this case, Defendants produced 21,455 attachments files to Plaintiffs out of a total
15   of 100,643 surviving attachment files. However, Defendants produced a greater number of
16   responsive attachment database records, 21,577, on February 05, 2021. This is unusual
17   because attachment files and attachment database records exist in a 1:1 relationship. Thus, the
18   discrepancy further confirms that Defendants deleted records directly from the database and
19   broke referential integrity.
20          Below is a summary of the surviving attachment files:
21              •    Defendants previously produced plaintiffs: 21,455 attachment files
22              •    Additional attachment files produced by Special Master to Plaintiffs: 2,122
23                   (9.9% more)
24          Furthermore, the attachment files Defendants did produce, were not in a reasonably
25   useable format for Plaintiffs. When Defendants produced attachments, there were two
26   problems: 1) the attachments were missing file extensions; and 2) they contained virus files.
27          First, because the files were missing file extensions, they were not easily opened or
28   viewable. As mentioned, attachment files are stored outside the database. The database stores

                                  -32-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   the file name and file extension of each attachment file. The Kayako SupportSuite

 2   Application automatically looks up the file extension and opens the attachment file. Although

 3   Defendants provided the files as they exist in their file system, Plaintiffs, do not have

 4   Defendants’ Kayako SupportSuite Application, and therefore were unable to open and view

 5   the files. Therefore, to provide files in a reasonably useable format for Plaintiffs, Defendants

 6   should have at a minimum supplied the file extensions to each attachment file, provided a

 7   license to use the Application to view the attachments, and/or provided PDFs of all text-based

 8   attachments.

 9          Second, the group of attachment files provided to Plaintiffs contained viruses. It is
10   common best practice to run anti-virus software before a file production to opposing party.
11   However, Defendants reported to Special Master that its servers and workstations do not have
12   anti-virus software. In this case, there were over 150 virus files among the attachment files
13   provided by Defendants. Failing to run anti-virus software against files being produced to
14   Plaintiffs posed a risk to Plaintiffs’ computer systems. Therefore, of the limited group of
15   attachment files provided, they were not provided to Plaintiffs in a reasonably useable format.
16            F. SQL Backup File Requested but Withheld
17          Special Master requested all database files and backup files in initial and subsequent

18   production requests. Defendants produced files from developer workstations, but many

19   requested files were omitted or incomplete. In fact, there was a specific file Special Master

20   identified in a directory list. See Exhibit 40. The Special Master on May 9, 2021, requested

21   that specific file named “/home/kayako/mysql.12.dump.gz”, which is a Ticket Database

22   backup. Defendants responded to the request on May 10, 2021, that the file does “not exist”.

23   However, the file did exist as shown on the directory listing provided by Defendants on April

24   06, 2021. When questioned further, Defendants claimed they deleted this file to free up space

25   on their server on April 11, 2021, in an email dated June 02, 2021, which contained this text:

26          The server (whois.onlinenic.com) [sic] running out of space around Apr 11.

27          As a server mainly for shared hosting servers’ backup and sending out

28          notification [sic], it was a temporary station to place some processing files in

                                  -33-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1          this legal case, for example to analyze so it would not affect stableness of

 2          ticket server, or to upload files from it, etc. When the server was running out

 3          of space, the first move was to clean those temporary files. I think server’s

 4          [sic] admin cleaned a couple of temporary users (folders) to leave room for

 5          SHARED hosting servers.

 6          As shown in the email above, Defendants claimed the file had been deleted from the

 7   “temporary station to place some processing files in this legal case.” Special Master asked

 8   Defendants by email, “Before deleting files to make room on the server, did your clients

 9   backup or copy the files that were deleted to another computer, hard drive, storage device, or
10   cloud backup service? If so, where are those files now?” Defendants answered,
11   “Unfortunately, the server admin did not keep a copy of the files when cleaning server.”
12          On June 7, 2021, the Defendants produced a new server directory list requested by the

13   Special Master. The Special Master analyzed the directory list and confirmed the Ticket

14   Database backup file, “/home/kayako/mysql.12.dump.gz”, was no longer on the server. The

15   requested Ticket Database backup file, “/home/kayako/mysql.12.dump.gz,” was never

16   provided to the Special Master.

17          Defendants had other options to free up space and did not need to delete the requested,

18   directly responsive, backup file. Not only could Defendants have moved (or copied) the files

19   to another server or purchased and used an external hard drive (less than $100 USD), they

20   could have instead deleted older versions of much larger files. For example, Defendants

21   elected to preserve 56 larger files created in 2017 and 2020 instead of preserving the file

22   named “mysql.12.dump.gz” directly responsive to the case. See Exhibit 41. Furthermore,

23   there were triplicate files that existed, meaning Defendants could have deleted older versions

24   of the same exceptionally large file. Id. Instead, they deleted a directly responsive, relatively

25   small file directly responsive to the case under pretense of freeing up space.

26   IX.    DEFENDANTS CONDUCTED “DATA DUMPING”

27          Defendants created a burden for Plaintiffs by producing a significant amount of ESI

28   that was not responsive to the agreed past discovery protocol (often referred to as “data

                                  -34-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   dumping”). Data dumping is the practice of deliberately producing a significant amount of

 2   non-responsive information and is often discouraged by courts. Generally, the intent is to

 3   make it more difficult and expensive for the opposing party to find important evidence and

 4   thereby receive a strategic advantage. By reviewing a subset of 27,823,240 records that

 5   Defendants produced to Plaintiffs, only 5,096 records were responsive. These examples are

 6   shown here:

 7              Table                Total Records       Responsive          Responsive
 8                                                       Records             Percent
 9              swcommentdata                 163,502               3,892              2.38%
10              swcountryinfo                  79,440                    0             0.00%
11              swticketnotes                 128,770                    5             0.004%
12              swticketpostindex          26,288,906                    0             0.00%
13              swticketpostindex             529,528               1,046              0.19%
14              swusers                       633,094                 153              0.28%
15          Table 3. Sample of productions comparing number of responsive records to total

16   records provided.

17   X.     RECORDS DELETED & WITHHELD FROM SPECIAL MASTER

18          Special Master made a great effort to collect databases and other information from

19   Defendants via email, skype, phone calls, and remote computer sessions for information

20   needed for this Report. Sometimes, Special Master requested information that was not

21   provided by Defendants. After discovering information withheld, Defendants sometimes

22   produced the specified items to the Special Master after a special request. In one example,

23   Special Master found that Defendants’ PHP scripts generate four text files (ticketid.txt,

24   ticketmaskid.txt, email.txt, and postid.txt). Despite a specific request for the files, Defendants

25   never produced them. Other times, Special Master had to make multiple requests for

26   information before Defendants eventually complied. In a few instances, Defendants stated the

27   information had been deleted and was no longer available. Thus, on multiple occasions,

28   Defendants withheld and deleted records from Special Master, even though the Special

                                  -35-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   Master has documentation in server directory lists to show the files did exist on the server

 2   within the past two months.

 3   XI.    REPORT EXHIBITS AND PRODUCTION TO THE PARTIES

 4          This Report is derived from a tremendous amount of data and information. To fully

 5   understand the information in this Report, the parties were provided the following

 6   supplemental information:

 7              •   The “Special Discovery Master’s Data Destroyed or Withheld Report” and all
 8                  exhibits (2 files, 13MB);

 9              •   MySQL database with all the responsive records, across all databases collected
10                  by Special Master, per the past agreed discovery protocol (24 GB);
11              •   Attachment files with all the responsive records per the past agreed discovery
12                  protocol (23,464 files, 2.6 GB); and
13              •   Excel spreadsheets containing the analytics data used to provide the
14                  information, findings, and conclusions in this Report (33 files, 29 MB).
15          The cumulative file size of this Report and all supplemental information is over 26
16   GB.
17   XII.   PARTIES’ COMMENTS TO DRAFT REPORT
18          The parties were provided two draft copies of this Report filed on July 12, 2021. The
19   parties received the first draft on June 9, 2021, and the second draft on July 7, 2021. Both
20   parties had an opportunity to provide comments. Those comments are included with this
21   Report as Exhibits 43 and 44 and are discussed below.
22            A. Plaintiffs’ Comments
23          Plaintiffs’ comments sought two additions. One, to clarify that based on Defendants’
24   own admissions, they deleted at least one database backup during discovery. See Exhibit 43.
25   Two, Plaintiffs sought to have Defendants’ employees who provided information for this
26   Report be individually named. Id.
27          On Plaintiffs’ first point regarding a known deleted backup, Special Master believes
28   Defendants have done several database backups and file copy backups of the database (see

                                  -36-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   references to the 2013 database in the Report). However, the database backups and file copy

 2   backups that existed on servers and workstations have been deleted. On Plaintiffs’ second

 3   point regarding employee identification, Special Master included the email address, partially

 4   obfuscated, to reference but not identify employee names who are not officers of Defendants.

 5            B. Defendants’ Comments

 6          Defendants’ comments were more extensive and are included in Exhibit 44.

 7   Defendants' comments are summarized here: 1) Defendants regularly deleted records to

 8   improve the aging Ticket Database’s functionality; 2) Defendants’ expert performed a

 9   waterfall analysis to show 44 non-recoverable tickets and posed hypotheses of what happened
10   to them; 3) the Application itself may be responsible for deleted audit log files; 4) backup
11   files discovered by Special Master were not in fact backups, but rather files that were created
12   for Special Master; 5) PHP files referenced in the Report do not contain deletion language and
13   created for responding to discovery in this case; and 6) date ranges in Defendants’ PHP scripts
14   written for production are irrelevant and seeks clarification that Defendants produced records
15   going back to 2015 or not.
16          Special Master carefully reviewed Defendants’ comments. In many ways, Defendants’
17   responses support the most important concerns Special Master raised in the Report. In fact,
18   Defendants do not dispute deleting records, they instead try to justify why. Defendants deleted
19   data post case filing, during discovery, after productions, and after Special Master’s
20   appointment.
21          Special Master highlights the following points:
22                  •   Defendants did not state one step, method, process, or system they used for
23                      data preservation.
24                  •   Servers and workstations were not backed up.
25                  •   Defendants failed to create and maintain regular backups of their database,
26                      even post case filing.
27                  •   Defendants failed to use anti-spam/anti-virus software on their servers or
28                      workstations.

                                  -37-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1               •   Defendants allege database performance issues caused some problems.
 2                   Defendants’ Kayako Ticketing Database was approximately 7.7 GB.

 3                   Special Master did not notice performance issues with the larger

 4                   Consolidated Database (24 GB).

 5               •   Defendants continue to use the Kayako Ticketing Database that they allege
 6                   was unstable, poor performing, spam-riddled, and un-backedup, even after

 7                   purchasing the new Zoho Ticketing Database in October 2020.

 8               •   Defendants speculate that some audit logs were never written due to
 9                   “glitches” in the system resulting from “several concurrent deletion

10                   requests getting submitted to the system.” Special Master strongly disputes
11                   this assertion.
12               •   Defendants do not explain why they would delete records directly from the
13                   database (causing orphaned records) instead of via the Application.
14               •   Defendants failed to address why so many attachment files and database
15                   records were deleted, why surviving attachments files were not searched,
16                   or why they were provided to Plaintiffs with viruses.
17               •   Defendants did not explain why they data-dumped 27,818,144 non-
18                   responsive records on Plaintiffs.
19        Finally, Defendants’ experts’ “waterfall analysis” is flawed.
20               •   Defendants selected only those tables that supported their desired
21                   conclusion. The waterfall analysis does not include the many ticket-related
22                   tables that contained large numbers of orphaned records, such as:
23                   swattachments; swticketrecipients; or swticketposts.

24               •   Defendants’ analysis is based on the swticket table outward. Conversely,
25                   Special Master’s analysis is based on an outward analysis from all ticket

26                   and ticket-related tables. Special Masters’ more expansive analysis was

27                   necessitated by the high number of orphaned records across many ticket

28                   and ticket-related tables.

                                  -38-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1                  •   The analysis did not explain deleted ticket database records and attachment
 2                      files.

 3                  •   Defendants justify data exists because it is in “temp_data,” even though the
 4                      table was never produced to Plaintiffs.

 5                  •   The waterfall analysis refers to a date range beginning “July 1, 2015”, but
 6                      fails to specify what end date was applied.

 7                  •   The analysis focuses on deleted records but is silent concerning the issue of
 8                      withheld records to the Plaintiffs. There was no explanation for why

 9                      searches for responsive records were not done in ticket-related tables,

10                      certain columns in tables, or attachment files.
11                                     EXPERT CONCLUSIONS
12          Briefly put, Defendants did not do what they should have done (preserve and produce
13   responsive ESI) yet did do what they should not have done (delete and obfuscate). Based on
14   the sum of the evidence, Special Master concludes Defendants’ behavior was intentional.
15          First, Defendants’ failure to preserve ESI and deletion activities were widespread. In

16   total, Special Master identified 11,059,388 deleted records. Deletion activities were so

17   pervasive that they included many database tables (tickets, ticket posts, ticket notes, ticket

18   words, audit logs, etc.), and attachment files. Of the deleted records, Special Master estimates

19   30% of those records (based on the percent of responsive records from July 1, 2015 – July 15,

20   2020), or 3,317,816 were responsive to the agreed past discovery protocol. Special Master

21   even obtained some of the very PHP and SQL scripts Defendants used to programmatically

22   delete data directly from the database. This behavior is more outrageous when considering the

23   type of ESI Defendants deleted and withheld. Most egregious was Defendants’ deletion and

24   withholding of ticket attachments. As discussed, attachments arguably contained the most

25   responsive ESI, yet Defendants deleted 76.7% of all attachments. Defendants’ conduct was

26   consistent and continuous. Defendants began deleting data before the complaint was filed,

27   continued deleting responsive records during the discovery process, and even after Special

28   Master’s appointment.

                                  -39-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1          Admittedly, for many of the deleted records, Special Master is unable to determine

 2   when they were deleted. This is because Defendants deleted audit logs and failed to provide

 3   regular backups of Ticket Databases and attachment file directories. However, what is clear,

 4   is that Defendants deleted data during discovery after previous productions to both Plaintiffs

 5   and Special Master.

 6          Second, throughout the discovery process Defendants’ conduct included obfuscation

 7   and ESI withholding. From the beginning, Defendants made material misrepresentations

 8   regarding their backups and other ESI items to Special Master. For example, on multiple

 9   occasions, Defendants denied items existed until they were discovered by Special Master.
10   Furthermore, Defendants used inaccurate date filters and did not search all ticket-related
11   tables and columns within those tables, resulting in more withheld records. Finally,
12   Defendants over-produced 27,823,240 non-responsive records (aka, data dumped) to obscure

13   5,096 responsive records. Consequently, Defendants’ conduct throughout discovery resulted

14   in Plaintiffs not receiving all available responsive information.

15          Third, Plaintiffs suffered irreparable harm. Only some of the withheld and deleted

16   records were recoverable. While a subset of deleted records is recoverable from Defendants’

17   earlier productions, other responsive ESI will be unavailable because the data was destroyed

18   and no longer exists. In fact, of the most critical evidence type, attachments, 76.7% were

19   deleted. Furthermore, Special Master cannot indicate whether or how much of the non-

20   recoverable ESI was responsive or not; a record that cannot be seen, cannot be searched.

21   Therefore, Defendants caused irreparable harm to Plaintiffs through permanently deleted

22   responsive database records and attachment files, that they will never see or know the

23   contents.

24          Fourth, Plaintiffs will continue to suffer harm with the new production. Based on the

25   new discovery protocol (with an expanded date range and more search terms), there will be a

26   greater number of missing responsive database records and attachments. Even though Special

27   Master has recovered all possible data, not all deleted responsive ESI is available. Due to

28

                                  -40-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
 1   Defendants’ data destruction efforts, the new production will be inadequate because it will not

 2   include all responsive ESI that should have been produced to Plaintiffs.

 3          In summary, based on Defendants’ widespread activities involving ESI deletion,

 4   information withholding, and data dumping there is no other conclusion than Defendants

 5   acted intentionally to avoid producing responsive ESI to Plaintiffs.

 6

 7   DATED: July 12, 2021

 8

 9                                                Howe Law Firm
                                                  By: /s/ Thomas P. Howe
10                                                Thomas P. Howe,
                                                  Special Discovery Master
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                  -41-
     SPECIAL DISCOVERY MASTER’S DATA DESTROYED OR WITHHELD REPORT
                                              Case No.: 5:19-cv-07071-SVK
Exhibit 1
Exhibit 1. Consolidated Database
Exhibit 2
Exhibit 2. Discovery Protocol for Past Productions

Discovery Protocol for Past Productions
Please confer and provide this information as soon as possible so I may complete my analysis.

Please carefully check all domain names, search terms, and spelling below.

  Past              Date        Search Words                        Wildcards         Privilege
  Productions       Filter                                                            Terms
  HTML              July 1,     (per 6/4/2020 email)                No agreement      None
  Production        2015 –                                          regarding
  7/15/2020         July 14,    Abuse                               search terms
                    2020        ACPA                                was discussed
  (Defendants                   Actionable
  Uploaded to                   admin@sprinthost.ru
  Blackstone)                   Aleksandr Ivanov
                                Anti-cybersquatting consumer
                                protection act
                                Anticybersquatting consumer
                                protection act
                                Avguro Technologies
                                businessmedia@gmail.com
                                COOP NIX Co.,Ltd
                                Counterfeit
                                Cybersquatting
                                dilution
                                Disclose
                                domain@inet.vn
                                Eugene Magdesiev
                                Fraud
                                iczcorporaz@gmail.com
                                Identifies
                                Identify
                                Identity
                                iNET Corporation
                                info@jino.ru
                                Infringement
                                Infringing
                                Jenry Haris
                                Jenry Haris
                                jenryhas@gmail.com
                                Krisztian Lukacs
                                Lanham Act
                                Lockspin UK
                                onlinenic@lockspin.com
                            Phishing
                            Proxy
                            Redact
                            Redacted
                            Reveal
                            Service mark
                            SPRINTHOST.RU LLC
                            Takashi Yamaguchi
                            Tanannop Juntima
                            Thu Nguyen Anh
                            Trademark
                            Tran Kien
                            UDRP
                            Uniform Domain Name Dispute
                            Resolution Policy
                            yamaguchi.takashi8@gmail.com

2020-11-27       July 1,    Same as above                   No agreement    None
Trouble Ticket   2015 –                                     regarding
db.sql           July 14,                                   search terms
                 2020                                       was discussed
2021-12-26       July 1,    Same as above                   No agreement    None
Trouble Ticket   2015 –                                     regarding
db.sql           July 14,                                   search terms
                 2020                                       was discussed
2021-02-05       July 1,    Same as above                   No agreement    None
Trouble Ticket   2015 –                                     regarding
db re 20         July 14,                                   search terms
DNs.sql          2020                                       was discussed
2021-02-05       July 1,    No agreement regarding search   No agreement    None
Trouble Ticket   2015 –     terms was discussed             regarding
db re 29         July 14,                                   search terms
DNs.sql          2020                                       was discussed
Exhibit 3
Exhibit 3. Special Master Collections from Defendants
Exhibit 4
Exhibit 4. Directory Listings from both servers and Developer
Workstation
A list of all the files and folders on the server referred to as “Domain Who-Is Server” collected
on March 16, 2021 by the Special Discovery Master.




A list of all the files and folders on the server referred to as “Domain Who-Is Server” collected
on April 6, 2021 by the Special Discovery Master.




A list of all the files and folders on the server referred to as “Domain Who-Is Server” collected
on June 18, 2021, dated June 4, 2021, by the Special Discovery Master.




A list of all the files and folders on the server referred to as “Kayako Ticket Server” collected on
March 16, 2021 by the Special Discovery Master.




A list of all the files and folders on the server referred to as “Kayako Ticket Server” collected on
April 6, 2021 by the Special Discovery Master.
A list of all the files and folders on the server referred to as “Kayako Ticket Server” collected on
April 13, 2021 by the Special Discovery Master.




A list of all files and folders on the computer referred to as “Developer Workstation” collected
on May 9, 2021 by the Special Discovery Master.
Exhibit 5
Exhibit 5. HTML Directories
HTML Productions




A folder containing a backup of the original version of the production to the Plaintiff and
contained 103 HTML files in 36 folders contained in 0.324 GB of storage space.




A folder containing 251 files stored in 0.250 GB of storage space in the same format as the
original HTML production to the Plaintiff but were created on 03/12/2021 and appeared to be
incomplete when sorted alphabetically. This was a set of files located on the server by the
Special Discovery Master that the Defendant produced to him containing responsive ticket
information.
Exhibit 6
Exhibit 6. Programming Script Directories
Programmer Scripts.




A directory containing 25 PHP Script files and one text file containing MySQL Script for
deleting records in various ticket related tables in the “Kayako Ticket Database” that were
produced on March 25, 2021. These scripts were likely used for the MySQL Database
Productions by Defendant to Plaintiff.




A directory containing 25 PHP Script files and one text file containing MySQL Script for
deleting records in various ticket related tables in the “Kayako Ticket Database” that were
produced on April 15, 2021, and were identical to the files produced on March 25, 2021. These
scripts were likely used for the MySQL Database Productions by Defendant to Plaintiff.
A directory containing 25 PHP Script files and one text file containing MySQL Script for
deleting records in various ticket related tables in the “Kayako Ticket Database” that were
produced on April 26, 2021 and were identical to the files produced on March 25, 2021. These
scripts were likely used for the MySQL Database Productions by Defendant to Plaintiff. In
addition, three PHP Script files were produced that the Special Discovery Master located on the
“Kayako Ticket Server” that were not included in the previous productions.
Exhibit 7
Exhibit 7. Miscellaneous Files Directories
Miscellaneous Files.




A directory containing the file collected named duo_files.txt which contained the names of 472
distinct attachment files from the folder named “/var/www/html/support.onlinenic.com/files/” on
the “Kayako Ticket Server”.
A directory used to unarchive the files collected on this date that possibly related to the
processing of attachment files on the “Kayako Ticket Server”.
Exhibit 8
Exhibit 8. Database ID listing for Consolidated Database
Exhibit 9
Exhibit 9. Compare Records Counts between Defendants Produced
Databases and the Consolidated Database
Analysis - Record Counts by Produced Before, Responsive, Related, and Produced for All Data
Sources .xlsx
Exhibit 10
Exhibit 10. Records Counts of Responsive Columns by Table in
Consolidated Database
Analysis - Record Counts by Produced Before, Responsive, Related, and Produced for All Data
Sources .xlsx
Exhibit 11
Exhibit 11. Record Counts of Production Database For This Report
Analysis - Record Counts by Produced Before, Responsive, Related, and Produced for All Data
Sources .xlsx
Exhibit 12
Exhibit 12. Online-NIC’s Webpages
Exhibit 13
Exhibit 13. Directory Listing of All PHP Files Produced
Exhibit 14
Exhibit 14. Directory Listing of 3 PHP Files Produced 4/26/2021
Exhibit 15
Exhibit 15. Defendants Code to Copy and Delete Database Records
and Attachment Files
zenghy_sql_statement.txt




zenghy_attachment_copy_file.php
Exhibit 16
Exhibit 16. Directory Locations on both Servers Containing
Attachment Files and SQL Backups
Directories Containing Attachments on Both Servers.xlsx




“MySQL Backup Files on Both Servers.xlsx”
Exhibit 17
Exhibit 17. Metadata Analysis of SQL Dump / Script File Backups
Pre-Processing Database Backup SQL File Scripts Metadata.xlsx
Exhibit 18
Exhibit 18. Directory Locations of 3 PHP Files on Kayako Ticket
Server and Developer Workstation
Exhibit 19
Exhibit 19. Analysis of Records Missing between 11/27/2020
production and 3/23/2021 Live Database Backup

Deleted Tickets and Ticket Posts that were Previously Produced to Plaintiffs.xlsx
Exhibit 20
Exhibit 20. ‘tmp_data’ Table Schema

tmp_data Table Schema.sql




SELECT * FROM `INFORMATION_SCHEMA`.`COLUMNS` WHERE TABLE_SCHEMA =
"full_ticketdb_2021_03_23" AND TABLE_NAME='tmp_data' ORDER BY
ORDINAL_POSITION
Exhibit 21
Exhibit 21. ‘tmp_data’ vs. ‘swtickets’ Schema Comparison
tmp_data vs swtickets Schema Comparison.xlsx




“tmp_data vs swtickets Schema Comparison.sql”
SELECT * FROM `INFORMATION_SCHEMA`.`COLUMNS` WHERE TABLE_SCHEMA =
"full_ticketdb_2021_03_23" AND TABLE_NAME='tmp_data'
UNION
SELECT * FROM `INFORMATION_SCHEMA`.`COLUMNS` WHERE TABLE_SCHEMA =
"full_ticketdb_2021_03_23" AND TABLE_NAME='swtickets'
 ORDER BY TABLE_NAME, ORDINAL_POSITION
Exhibit 22
Exhibit 22. ‘tmp_data’ vs. ‘swticketposts’ Schema Comparison
tmp_data vs swticketposts Schema Comparison.xlsx




“tmp_data vs swticketposts Schema Comparison.sql”
SELECT * FROM `INFORMATION_SCHEMA`.`COLUMNS` WHERE TABLE_SCHEMA =
"full_ticketdb_2021_03_23" AND TABLE_NAME='tmp_data'
UNION
SELECT * FROM `INFORMATION_SCHEMA`.`COLUMNS` WHERE TABLE_SCHEMA =
"full_ticketdb_2021_03_23" AND TABLE_NAME='swticketposts'
 ORDER BY TABLE_NAME, ORDINAL_POSITION
Exhibit 23
Exhibit 23. ‘temp_data’ vs. ‘swticketposts’ Schema Comparison
temp_data vs swticketposts Schema Comparison.xlsx




“temp_data vs swticketposts Schema Comparison.sql”
SELECT * FROM `INFORMATION_SCHEMA`.`COLUMNS` WHERE TABLE_SCHEMA =
"full_ticketdb_2021_03_23" AND TABLE_NAME='temp_data'
UNION
SELECT * FROM `INFORMATION_SCHEMA`.`COLUMNS` WHERE TABLE_SCHEMA =
"full_ticketdb_2021_03_23" AND TABLE_NAME='swticketposts'
 ORDER BY TABLE_NAME, ORDINAL_POSITION
Exhibit 24
Exhibit 24. Analysis – Count Total Records and Missing by Table
Analysis - Count Total Records and Missing By Table.xlsx
Exhibit 25
Exhibit 25. GAP Analysis
Gap Analysis By Year for Ticket Related Tables.xlsx
Exhibit 26
Exhibit 26. Sample of Attachment Record with Matching File
Listing
swattachments.xlsx
Exhibit 27
Exhibit 27. Overview of Deleted Attachment Records and Files
Attachment Files Found in Directory Listings from Servers.xlsx




Attachment Files Missing in File Listings from Servers.xlsx
Exhibit 28
Exhibit 28. Report of 97 Responsive Orphaned Attachment Files
Attachment_responsive_orphans_computerfiles.xlsx




attachmentfiles_responsive_orphans_computerfiles - DeviceDetails.xlsx
Exhibit 29
Exhibit 29. Files with ‘JenryHaris’ Prefix
When sorted alphabetically, the Special Discovery Master saw that all files, beginning and
ending, were named with the JenryHaris prefix.
Exhibit 30
Exhibit 30. No ‘JenryHaris’ Prefixed Files in Past HTML
Production
Relatedly, Defendants did not produce any HTML files or records related to JenryHaris in the
July 15, 2020 HTML production to Plaintiffs.
Exhibit 31
Exhibit 31. Details for File Named ‘duo_files.txt’
Defendants deleted 34 attachment database records in the swattachments table. The Defendants’
PHP script file named ‘zenghy_tmp_20210317.php’ generated a text file named
‘/root/duo_files.txt’, which was created on March 17, 2021. This file was located on the Ticket
Database, was requested by Special Discovery Master, and was delivered on April 26, 2021. The
file references 472 unique attachment files by their file paths.
Contents of zengy_tmp_20210317.php PHP Script file: (Created on 3/17/2021)

<?php



$dbhost = '173.255.221.136'; // mysql·þÎñÆ÷Ö÷»úµØÖ·

$dbuser = 'xxxxxx';          // mysqlÓÃ»§Ãû

$dbpass = 'xxxxxx';         // mysqlÓÃ»§ÃûÃÜÂë



$dbhost = 'localhost'; // mysql·þÎñÆ÷Ö÷»úµØÖ·

$dbuser = 'xxxxxx';          // mysqlÓÃ»§Ãû

$dbpass = 'xxxxxx';         // mysqlÓÃ»§ÃûÃÜÂë



$conn = mysqli_connect($dbhost, $dbuser, $dbpass, 'kayako');

if (!$conn) {

    var_dump('connect error: ' . mysqli_error($conn));

}



$sql = 'select * from swattachments';

$file1 = fopen('duo_files.txt','a+');

$retval = mysqli_query($conn, $sql);

//$dir = '/home/jumpol/script/ticket_20210106/files/';

$ori_dir = '/var/www/html/support.onlinenic.com/files/';

while ($row = mysqli_fetch_assoc($retval)) {

    $file = $row['storefilename'];
     if (!file_exists($ori_dir.trim($file))) {

          echo $ori_dir.trim($file)."\n";

          fwrite($file1,$ori_dir.trim($file)."\n");

     }

//       copy($ori_dir.trim($file), $dir.trim($file));

}

echo 'done';

Contents of zengy_attachment_copy_file.php PHP Script file (Created 9/13/2020):
<?php


$dbhost = 'localhost'; // mysql·þÎñÆ÷Ö÷»úµØÖ·
$dbuser = 'kayako';        // mysqlÓÃ»§Ãû
$dbpass = '';     // mysqlÓÃ»§ÃûÃÜÂë

$conn = mysqli_connect($dbhost, $dbuser, $dbpass, 'kayako');
if (!$conn) {
   var_dump('connect error: ' . mysqli_error($conn));
}

$sql = 'select * from swattachments';
$file = fopen('duo_files.txt','a+');
$retval = mysqli_query($conn, $sql);
$dir = '/home/jumpol/script/ticket_20210106/files/';
$ori_dir = '/var/www/html/support.onlinenic.com/files/';
while ($row = mysqli_fetch_assoc($retval)) {
   $file = $row['storefilename'];
   if (!file_exists($ori_dir.trim($file))) {
      echo $file;
   }
   copy($ori_dir.trim($file), $dir.trim($file));
}
echo 'done';
Exhibit 32
Exhibit 32. Attachment Files Missing Records from duo_files.txt
Attachment Files Missing Records from duo_files.txt.xlsx




Special Discovery Master cross referenced all 472 files against the ‘swattachments’ table to look
for matching database records. Notably, 28 of the listed attachment files did not have matching
database records in the cross-referenced table. All 472 physical file attachments do not appear
anywhere in any of the directory listings the Special Master was provided for both servers and
the Developer’s Workstation.
Exhibit 33
Exhibit 33. PHP Script Referencing Date Range back to 2015
PHP Analysis Spreadsheet.xlsx
Exhibit 34
Exhibit 34. PHP Script Referencing Date Range back to 2017
PHP Analysis Spreadsheet.xlsx
Exhibit 35
Exhibit 35. Table and Column Schema for all Ticket Related Tables
Marked with Produced Columns for Early Productions
swticketposts and swticketposts Schema.xlsx
Exhibit 36
Exhibit 36. PHP Samples Where Filters were Applied Differently to
Columns
PHP Analysis Spreadsheet.xlsx
Exhibit 37
Exhibit 37. PHP Script Samples where Filters were Applied to only
One Table instead of All
PHP Analysis Spreadsheet.xlsx
Exhibit 38
Exhibit 38. Ticket Related Tables Excluded in Early Productions
“Ticket Related Tables Excluded in Early Productions.xlsx”
Exhibit 39
Exhibit 39. Excel Example showing Limited Columns
Exhibit 40
Exhibit 40. File Named mysql.12.dump.gz On Domain Who Is
Server
“File Named mysql.12.dump.gz On Domain Who Is Server.xlsx




“File Named mysql.12.dump.gz On Domain Who Is Server.SQL”
SELECT
 file_details.file_name,
 file_details.file_time,
 file_details.file_date,
 file_details.file_size,
 file_details.file_extension,
 file_details.file_path
FROM files_domainwhois_2021_04_06.file_details
WHERE file_details.file_name LIKE '%mysql.12.dump.gz%'
Exhibit 41
Exhibit 41. Files Preserved instead of mysql.12.dump.gz On Domain
Who Is Server
This Exhibit shows files for domain WhoIs Server sorted descending by file size - Large Files
Only.xlsx

Defendants elected to preserve 56 larger files created in 2017 and 2020 instead of preserving the
file named mysql.12.dump.gz directly responsive to the case.

Defendants elected to preserve 66 larger files created in 2021 instead of preserving the file
named mysql.12.dump.gz directly responsive to the case.
Exhibit 42
Exhibit 42. Discovery Protocol for New Production

Discovery Protocol Agreement
The parties agree to this joint Discovery Protocol Agreement. This Discovery Protocol can be
modified by mutual agreement of the parties. If you make changes to the Discovery Protocol,
please send an updated version to Tom Howe at howe@howelawfirm.com.

 Matter Name:      Facebook, Inc. et al v. OnlineNic Inc et al - Case No. 3:19-cv-0707

 Dated:            2021-05-06


Collections and Data to Process
 X    Ticketing Database Sources      Details
 X    Ticketing Database              All ticketing databases, database backups and attachment files
      Backups; Attachment             collected by the Special Master.
      Files; and Productions.
                                      The Special Master will also download a copy of the current
                                      version of the Zoho database used by Defendants and include
                                      that data in subsequent searches. Defendants will provide all
                                      credentials to Special Master to allow Special Master to
                                      download the Zoho database in native format.

                                      Note: Searches will be run across all data sources above.

Date Filter
The information will be culled to include only the relevant date range, as indicated below, for
this matter.
 Begin Date:                        No date filter.

 End Date:                          No date filter.


Search Terms
The following search terms and search phrases will be used to cull the information. Search terms
are not case sensitive (e.g., the search term "Steve" also returns STEVE and steve). Search terms
will apply to readable text information. Wildcards (%) will be used before and after each search
term listed below.

 Example Search Term        Responsive Items
 %trollfacebook.com%        trollfacebook.com, www.trollfacebook.com, http://trollfacebook.com
 %Trademark%                Trademark, Trademarks, Trademarked
Enter Search Terms
ACPA
Actionable
admin@sprinthost.ru
Akhmed
Aleksandr
Aleksandr Ivanov
Aleksandrovich
Anti-cybersquatting consumer protection act
Anticybersquatting consumer protection act
ANTON PRIKHODKO
Anton Prikhodko
Avguro Technologies
Axatovich
Bakkura
Bakkura Dzhikhad Akhmed
Batista
businessmedia@gmail.com
buyinstagramfans.com
Chowdhury
clippoo18.xxx@gmail.com
COOP NIX Co.,Ltd
Counterfeit
Cybersquatting
David Wilke
deepsleeper@hotmail.co.uk
dilution
Disclose
domain@inet.vn
domains@digiport.nl
domreg@microware.hu
Dzhikhad
Esther Batista
EUGENE MAGDESIEV
Eugene Magdesiev
eugene@magdesiev.ru
Evgeny
Evgeny Magdesiev
evgeny.rekling@gmail.com
face2bouk.com
facebook-alkalmazasok.net
facebook-chat-emoticons.com
facebook-fans-buy.com
facebook-hirdetesek.com
facebook-login-signup.com
facebook-mails.com
facebook-pass.com
facebook-pw.com
facebook-rodo.com
facebookdrummers.com
facebookperottici.com
facebookphysician.com
facebooktopten.com
facebookvideodownload.net
facebux2.com
facekhook.com
facessbook.com
faecb00k-page.com
faecbook-page.com
findfacebookid.com
Fraud
GAMBERINI
Ganiullin
Ganiullin Artur Axatovich
GregoryJLuton
Gyoergy
hackfacebook-now.com
hackingfacebook.net
hacksomeonesfacebook.com
Haris
HISATA
iczcorporaz@gmail.com
Identifies
Identify
Identity
iiinstagram.com
iNET Corporation
info@avguro.ru
info@digiport.nl
info@dima.hu
info@jino.ru
Infringement
Infringing
instaface.org
instagram-login.xyz
instagram01.com
instagramdrummer.com
instagramdrummers.com
instakram.com
iroda@tarhely.eu
Itsuki
Itsuki nimikoo
Ivan V Kandzyuba
Ivanov
Jenry
Jenry Haris
jenryhas@gmail.com
jobi110@hotmail.com
Juntima
Kandzyuba
Karpati
Karpati Zoltan
Kien Tran
kien@inet.vn
KJ STOL
klaasjan@digiport.nl
Koleszar
Komaromi
komaromi.zsolt@microware.hu
Krisztian
Krisztian Lukacs
lamsocialfacebook.net
Lanham Act
Laszlo
Laszlo Krisztian
Laura Yun
learntohackfacebook.com
LH.pl Sp. z o.o.
Lockspin UK
login-lnstargram.com
Lukacs
Luton
m-facebook-login.com
magdesiev
Magos
Magos TamÃ¡s
Magos TamÃ¡s LÃ¡szlÃ³
mail-instgram.com
manage-instagram.xyz
Marek
Marek Panek
marek@lh.pl
MAURO
MAURO GAMBERINI
mehdi
mgr@speee.jp
Microware Hungary Kft.
modelfacebook.com
Monir Mahmud Chowdhury
mr.elgoud@gmail.com
myfacebooktop10.com
newvolna01@yandex.ru
nimikoo
ofacebooklogin.com
onlinenic@lockspin.com
Panek
pay_pal@offshore-hosting-service.com
Peter Koleszar
peter@koleszar.hu
Phishing
Prikhodko
Proxy
RACHID ASSOIB
Redact
Redacted
Rekling
Rekling Evgeny Aleksandrovich
Reveal
S M A zaidi
Service mark
sickfacebook.com
singin-lnstargram.com
SOMA Katarzyna Sokol
spiritkind@gmail.com
SPRINTHOST.RU LLC
syed Zaidi
Takashi
Takashi Yamaguchi
Tanannop
Tanannop Juntima
tenmiendaduocdangky@gmail.com
TETSUSHI
TETSUSHI HISATA
Thu Nguyen
Thu Nguyen Anh
Trademark
Tran Kien
trollfacebook.com
UDRP
 Uniform Domain Name Dispute Resolution Policy
 watch-facebook.com
 Wilke
 wwhatsap.com
 www-facebook-login.com
 www-facebook-pages.com
 www-instagram.net
 Yamaguchi
 yamaguchi.takashi8@gmail.com
 Zaidi
 Zoltan
 Zoltan Karpati
 Zsolt
 Zsolt Gyoergy Komaromi
 Zsolt Gyorgy Komaromi
 Zsolt Komaromi

 Search Protocol
 •   All ticket-related tables in all databases (above), except database tables with no records, will be
     searched. All attachments files will be searched.
 •   Each search term (above) will be searched in all tables and all columns that contain text (including
     but not limited to, varchar, text, tinytext, etc. data types), including searching index tables.
     Wildcards (“%”) will be used before and after each search item.
 •   Produce all records where the search term was located (including records referenced by an index
     entry). The seach terms will be searched without regard to letter-case (i.e., “M” will match the
     same as “m”)
 •   If the search term is found in any record associated with a trouble ticket (ticket table, ticket-
     related tables, or attachment files or index table), then the entire trouble ticket, including all
     trouble ticket related tables (e.g. trouble ticket posts) and attachments will be produced.


Privilege Terms
List all privilege terms in this section. You may want to include current and past law firms for
your clients.

 Lawyer Names:         David Steele, Howard Kroll, Steven E. Lauridsen, Bart Kessel
 Law Firm Name:        Tucker Ellis LLP
 Phone Numbers:        (213) 430-3360, (213) 430-3400
 Email Addresses:      %@tuckerellis.com
 Website:              *tuckerellis.com

 Lawyer Names:         Perry J. Narancic,
 Law Firm Name:       LexAnalytica, PC
 Phone Numbers:       (650) 655-2800
 Email Addresses:     *@lexanalytica.com
 Website:             *lexanalytica.com

Method of Production
De-Duplication. Duplicate records will not be produced. Instead, the most recent instance of a
record will be produced, and older duplicate records will be culled.

The information responsive to this Discovery Protocol shall be provided to both parties,
contemporaneously.

Responsive and non-privileged items will be produced as follows:

   •   Relational Database: The responsive database records will be produced in a MySQL
       database including all responsive ticket-related tables.
   •   Attachment Folder: A folder with all responsive ticket attachments.
   •   The number of rows, columns, and records exceeds Excel worksheet/workbook capacity
       and therefore will not be provided.

Each party can import, or ingest, the native files, emails, and phone data into the litigation
software of their choice.

Redaction
There will be no redactions of the responsive data.

Privilege
If privilege data is produced, the Defendants may claw back the information as described in
the ‘Claw Back Agreement” section below.

Claw Back Agreement
Both parties agree that any inadvertent production of any privileged information, or
information that should not have been produced pursuant to this protocol, shall not result
in the waiver of any associated privilege nor result in a subject matter waiver of any kind. If
either party inadvertently receives privileged information, or information not subject to
this protocol, the receiving party shall notify the producing party of the disclosure. The
parties agree, however, that the disclosure of any particular information shall cease to be
"inadvertent" if, 14 days after notification of the inadvertent disclosure the party does not
request the return of the information.

If the producing party discovers their inadvertent production of any privileged
information, or information not subject to this protocol, the producing party shall notify the
receiving party of the disclosure and request return of the information. The receiving party
shall return the information within seven days.

Data Destruction
At the conclusion of the matter, the Howe Law Firm will forensically delete the discovery
information.
Exhibit 43. Plaintiffs’ Comments in Response to Draft Report
The parties were provided two draft copies of this Report. The parties received the first draft on
June 9, 2021, and the second draft on July 7, 2021. Both parties had an opportunity to provide
comments. Plaintiffs’ comments were delivered on June 16, 2021, and are included below,
without the referenced attachments.

Tom,
As we discussed yesterday, Plaintiffs would like your final report contain two additional items.

First, we believe it noteworthy to point out that Defendants’ representations during discovery
establish that they deleted at least one database backup. On page 8 of the Report, you state that
Defendants stated that no backups of the support ticket database prior to December 16, 2020 were
in existence. However, in a letter attempting to explain the issues that Defendants were having
with the production of the support ticket database, Mr. Narancic stated that Defendants’ November
27, 2020 MySQL database production to Plaintiffs was taken from a partial backup:
       There was a mysql database version of the ticket system provided, which is
       referenced on page 5 of ECF 56 (the “Second Production”). That production,
       apparently, was not complete because it was taken from a partial backup.
Assuming that this statement was true, Defendants’ admissions establish a backup of the support
ticket database existed prior to November 27, 2020 that Defendants deleted prior to your
review. Mr. Narancic’s letter, and the filing to which it was directed (ECF 56.04), are attached for
you reference.
Second, we believe that it is important for you to identify for the Court the names of the individuals
with whom you spoke as well as those individual from whom you obtained the information and
materials referenced in your report. We believe this information will be helpful to the Court in
subsequent proceedings.


Lastly, we attach a copy of CMC statement filed by the Parties yesterday. The Parties discuss the
Report and issues related to the Report in the filing. Accordingly, we wanted you to be aware of
this filing and to have an opportunity to review the comments before you file the final Report.
Thank you in advance for your consideration of both of these requests.

David Steele | Partner | Tucker Ellis LLP
515 South Flower Street | Forty-Second Floor| Los Angeles, CA 90071
Direct: 213-430-3360
david.steele@tuckerellis.com
Exhibit 44. Defendants’ Comments in Response to Draft Report
The parties were provided two draft copies of this Report. The parties received the first draft on
June 9, 2021, and the second draft on July 7, 2021. Both parties had an opportunity to provide
comments. Defendants’ comments were delivered on July 8, 2021 and are included below.

//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
//
